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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 10-20261-CR-MOORE


  UNITED STATES OF AMERICAN

  v.

  CARLO DEMARCO,

              Defendant.
  ______________________________/


                       UNITED STATES’ RESPONSE TO
       DEFENDANT’S SENTENCNIG MEMORANDUM [D.E. 76] AND MOTION FOR
                      DOWNWARD DEPARTURE [D.E. 77]


         The United States of American, by and through the undersigned Assistant United States

  Attorney, hereby files this response to defendant Carlo DeMarco’s Sentencing Memorandum

  [D.E.76] and Motion for Downward Departure [D.E. 77]. In his Motion for Downward Departure,

  the defendant argues that the Defendant is “highly susceptible to abuse in prison because of the

  nature of his crime and the nature of his physical and emotional characteristics” [D.E. 76, p 1]. In

  his Sentencing Memorandum, the defendant presents two principal arguments in support to of his

  request to be sentenced to the statutory minimum term of imprisonment of 60 months. First, he

  argues that the defendant is susceptible to abuse in prison warranting a departure from the

  guidelines. Second, he argues, that a variance from the guidelines is appropriate to promote a

  reasonable sentence. Neither of these claims have merit. The Court should deny the defendant’s

  motion for a downward departure, because the defendant does not satisfy the criteria for a departure

  under Section 5H1.4 under the United States Sentencing Guidelines (Guidelines). Furthermore, the

  Court should decline the defendant’s invitation to reject the child pornography guidelines wholesale.
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  Moreover, the sentencing factors set forth in Title 18, United States Code, Section 3553(a), applied

  to the defendant’s case make clear that a Guideline sentence is appropriate and reasonable here.

                                                FACTS

         On February 10, 2010, a special agent (SA) with the from the Kansas City Division of the

  FBI accessed his undercover account on Giga Tribe.1 The SA sent a friend invite to the defendant

  (who used screening name “Xerox9”) to join the defendant’s Giga Tribe private file-sharing

  network.

         After accepting the friend request, SA was able to view and download files from the

  defendant’s computer that the defendant selected to share with other users. On February 11, 2010,

  the SA logged onto Giga Tribe; browsed and previewed the defendant’s shared files; and

  downloaded forty-two (42) images depicting minors engaging in sexually explicit conduct – that is,

  child pornography.

         On February 24, 2010, SA logged onto his Giga Tribe account and queried his network of

  friends and observed that the defendant was logged onto the network. SA browsed the defendant’s

  shared folders and observed numerous video file titles indicative of child pornography. SA selected

  sixteen (16) files which appeared to contain child pornography and began to download these files

  directly from the defendant’s computer.



         1
            Giga Tribe is a peer-to-peer (P2P) file sharing program that allows users to create their
  own private network of contacts (all of whom have to be Giga Tribe users). Therefore, unlike
  other P2P file sharing programs like Limewire, file sharing via Giga Tribe is limited to those
  users you have included in your private network. To add someone to your private network, you
  send them an electronic “invite” through Giga Tribe. Once the invitee accepts your invitation
  they are added to your private network and are allowed to access and/or download any files you
  and the others in your network are sharing. Likewise, the private network can access and/or
  download any files that the invitee is sharing.

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         On March 29, 2010, law enforcement officers executed a search warrant at the defendant’s

  residence and seized several items, including two Hewlett Packard laptops. Law enforcement

  examined the computers and found still and video images of child pornography. Altogether the

  devices contained over 600 still images and 101 videos of child pornography.

                                                ARGUMENT

  A.     The Court should deny the defendant’s request for a departure from the guidelines.

         Defendant argues for a departure based on the grounds that the Defendant is “highly

  susceptible to abuse in prison because of the nature of his crime, and the nature of his physical and

  emotional characteristics [D.E.76, p. 2-4].

         Section 5H1.4 of the United States Sentencing Guidelines provides the following:

                Physical condition or appearance, including physique, may be relevant
                in determining whether a departure is warranted, if the condition or
                appearance, individually or in combination with other offender
                characteristics, is present to an unusual degree and distinguishes the
                case from the typical cases covered by the guidelines. An
                extraordinary physical impairment may be a reason to depart
                downward; e.g. in the case of a seriously infirm defendant, home
                detention may be as efficient as, and less costly than, imprisonment.

         Defendant argues that his physical condition and appearance in combination with his

  psychological disorders and the nature of the offense make a downward departure appropriate. This

  argument will fail because the defendant is unable to meet the narrowly circumscribed standards for

  a departure based on physical condition. To support departure for extraordinary susceptibility, a

  district court cannot simply rely on a defendant's status as a child pornographer, but must identify

  something exceptional about the facts of the case. United States v. Kapitzke, 130 F.3d 820, 822 (8th

  Cir.1997). See United States v. Long, 977 F.2d 1264, 1277 (8th Cir.1992)(approving departure

  based on defendant's frail health); United States v. Lara, 905 F.2d 599, 601, 605 (2d

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  Cir.1990)(approving departure based on defendant's diminutive size, immature appearance, and

  bisexual orientation).    See, e.g. United States v. McKinney, 53 F.3d 664, 677-78 (5th

  Cir.1995)(upholding district court’s denial of departure based on fifty-two year old defendant’s heart

  problems and high blood pressure); United States v. LeBlanc, 24 F.3d 340, 348-49 (1st Cir. 1994).

         The defendant is a 34 year-old man, who stands five feet six inches tall and weighs

  approximately 152 pounds. He is basically healthy, but may require certain mental health treatment.

  There is nothing extraordinary about the defendant’s physical condition that warrants a downward

  departure.

         Defendant cites to U.S. v. Parish, 308 F.3d 922 (8th Cir. 2002) as support for his argument

  for a downward departure. Parish involved a defendant who routinely visited pornographic sites

  while at work. The Court departed downward for two reason. First, on the theory that the

  defendant’s conduct was outside the “heartland” of the offense, in part because the defendant had

  not downloaded the images. Id. at 925. Second, on the theory that the defendant’s stature,

  demeanor, and naivete rendered him susceptible to abuse by other inmates while in prison. Id. at

  1031-1032.

         Defendant’s case differs from Parish. In Parish, the defendant “had not affirmatively

  downloaded the pornographic files, indexed the files, arranged them in a filing system, or created

  a search mechanism on his computer for ease of reference or retrieval. Rather, the images had been

  downloaded automatically into his Temporary Internet Cache file” Id. at 1030. Here, the defendant

  would not qualify for a downward departure the on the theory that the defendant’s conduct was

  outside the “heartland” of the offense, in part because the defendant downloaded hundreds of

  images, which was encrypted with a password. In Parish, the court heard from a doctor who


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  testified that Parish’s possession of child pornography was “pretty minor” when compared to the

  images possessed by other offenders. Id. The images on the defendant’s computer are not “pretty

  minor” by any means. Furthermore, the defendant’s computer contained over 600 images and over

  101 videos. Here, the defendant’s conduct is not outside the “heartland” of the offense and thus does

  not warrant a downward departure.

         Defendant’s case also differs from Parish under the second theory that the defendant is

  unusually susceptible to abuse by other inmates. In Parish, the court found that Parish was

  susceptible to abuse in prison based on “his stature, his demeanor, his naivete, [and] the nature of

  the offense” Id. at 1031. The court was unable to comment on the Parish’s stature and his demeanor

  due to the fact that they had never seen the defendant. The court considered the defendant’s naivete

  and noted that it could refer to the defendant’s action in committing this crime. “The fact that there

  is no evidence that Parish ever intentionally downloaded any pornography and did any way organize

  the materials on his computer suggests that he may not have understood that he was coming into

  possession of these images, rather than merely viewing them.” Id. at 1032. Here, the defendant’s

  actions are completely opposite to the defendant in Parish. Unlike the defendant in Parish, the

  defendant admitted to looking at child pornography for a number of years, and downloading

  hundreds of images, which were encrypted with a password. Furthermore, the defendant did not

  merely view these images. Rather, he understood that he was coming into contact with these

  images, and made these images secure by encrypting them with a password.

         Susceptibility to abuse in prison justifies departure only in extraordinary circumstances. See

  United States v. Belt, 89 F.3d 710, 714 (10th Cir.1996); see Koon, 518 U.S. at ----, 116 S.Ct. at

  2053. See also United States v. Rybicki, 96 F.3d 754, 759 (4th Cir.1996) (district court cannot depart


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  based on extraordinary punishment merely because police officers as a class suffer disproportionate

  problems when incarcerated);

         Defendant argues that his “susceptibility to abuse is exacerbated by...DeMarco’s extremely

  high level of [social] anxiety and historical inability to interact with others on a significantly high

  level” [D.E. 76, p. 3]. The government agues to the contrary. An examination of the defendant’s

  Presentence Investigation Report (PSI) demonstrates that the defendant is able to interact with others

  on a high level. From August 25, 1993, to August 1, 2003, the defendant attended the Miami Dade

  College. [PSI ¶ 61]. During that time, the defendant was awarded an associate in science degree in

  electronic engineering. Id. at ¶ 62. He was also awarded an associate in science degree in computer

  engineering technology. Id. On December 18, 2004, the defendant was awarded an associate in

  science degree in aviation administration. Id. On December 18, 2004, the defendant was awarded

  a college credit certificate in airline/aviation management where he attained a 3.38 grade point

  average. Id. In order to attain these achievements, the defendant must be able to interact with others

  on a significantly high level.

         For child sex crimes, extraordinary physical impairment may be grounds to depart downward

  if authorized by Section 5H1.4. See U.S.S.G. § 5K2.22(2). However, Section 5H1.4 largely

  pertains to departures involving the seriously infirm or specified substance abuse treatment

  purposes. See U.S.S.G. § 5H1.4. Neither circumstance is applicable to DeMarco. The defendant

  is unable to meet the narrowly circumscribed standards for a departure under U.S.S.G. Section

  5H1.4. There is nothing extraordinary about the defendant’s physical condition and psychological

  disorders that warrants a downward departure.




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  B.     A guideline sentence is appropriate under the § 3553(a) factors.

         DeMarco contends that he deserves a downward variance based on his lack of criminal

  record, mental health problems, and childhood [D.E. 76]. DeMarco claims that his background

  including his mental and emotional state based upon the events that have taken place in his life

  qualify as mitigating circumstances under 18 U.S.C. § 3553(b)(1).

         In child sex cases, courts are directed to impose a sentence within the range established by

  the applicable U.S. Sentencing Guidelines, unless they uncover a mitigating circumstance that: (1)

  has been affirmatively and specifically identified in the Guidelines, or policy statements, as

  permissible grounds for a downward departure; (2) has not adequately considered by the U.S.

  Sentencing Commission; and (3) should result in a non-guideline sentence. See 18 U.S.C. §

  3553(b)(2)(A)(ii). Any departure from the Guidelines in a child sex case, including the distribution

  of child pornography, is governed by U.S.S.G. § 5K2.0(b). This provision states:

         The grounds enumerated in this Part K of Chapter Five are the sole grounds that have
         been affirmatively and specifically identified as a permissible ground of downward
         departure in these sentencing guidelines and policy statements. Thus,
         notwithstanding any other reference to authority to depart downward elsewhere in
         this Sentencing Manual, a ground of downward departure has not been affirmatively
         and specifically identified as a permissible ground of downward departure within the
         meaning of section 3553(b)(2) unless it is expressly enumerated in this Part K as a
         ground upon which a downward departure may be granted.

  U.S.S.G. § 5K2.0(b).

  The commentary to Section 5K2.0 notes that the standard for a downward departure in child sex

  offenses differs from the standard for other departures. The basis for a child sex offense downward

  departure should also be affirmatively and specifically identified as a ground for departure under

  Chapter 5, Part K. See U.S.S.G. § 5K2.0, cmt. n.4(B)(I).

         The Government recognizes that 18 U.S.C. § 3553(b)(2)(ii) is no longer mandatory in light

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  of United States v. Booker, 543 U.S. 220 (2005) and its progeny. See also United States v. Hecht,

  470 F.3d 177 (4th Cir. 2006); United States v. Grigg, 442 F.3d 560 (7th Cir. 2006). However, this

  Court should give great weight to congressional intent that downward departures and/or variances

  should be extremely rare in child sex cases. The U.S. Sentencing Commission has also made it very

  clear that child sex crimes under Chapter 110, including the distribution of child pornography, are

  to be treated differently than other types of crimes. See U.S.S.G. § 5K2.13 (may not depart based

  on diminished capacity); § 5K2.20 (may not depart based on aberrant behavior), § 5K2.22(3) (may

  not depart based on drug/alcohol dependency or abuse); see also U.S.S.G. § 5H1.6 (family ties and

  responsibilities not relevant for departure); § 5H1.11 (military service only relevant for departure

  if “present to an unusual degree and distinguishes the case from typical cases covered by the

  guidelines”) § 5H1.12 (lack of guidance as youth/disadvantaged childhood not relevant for

  departure); § 5H1.8 (under § 4A1.3, downward departures prohibited for defendants with category

  I criminal history).

         In considering whether to exercise its discretion to vary from a guideline on policy grounds,

  courts must also be mindful of their institutional competency. Courts simply are not institutionally

  equipped to judge policy decisions of Congress. Even if courts could review each hearing transcript,

  floor debate transcript, study, and constituent letter examined by Congress, they could not fully take

  into account the judgment of each member of Congress in crafting and enacting each piece of

  legislation that has formed a guideline. It trammels the prerogative of the democratically-elected

  legislature for courts to take it upon themselves to rewrite sentencing guidelines wholesale.

         The Supreme Court discussed the courts’ competency in determining sentencing policy in

  Gregg v. Georgia, 428 U.S. 153 (1976), in which the Court evaluated a sentence to determine


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  whether it constituted cruel and unusual punishment:

                 “Courts are not representative bodies. They are not designed to be a good
         reflex of a democratic society. Their judgment is best informed, and therefore most
         dependable, within narrow limits. Their essential quality is detachment, founded on
         independence. History teaches that the independence of the judiciary is jeopardized
         when courts become embroiled in the passions of the day and assume primary
         responsibility in choosing between competing political, economic and social
         pressures.” Dennis v. United States, 341 U.S. 494, 525, 71 S.Ct. 857, 875, 95 L.Ed.
         1137 (1951) (Frankfurter, J., concurring in affirmance of judgment).

                 Therefore, in assessing a punishment selected by a democratically elected
         legislature against the constitutional measure, we presume its validity. We may not
         require the legislature to select the least severe penalty possible so long as the
         penalty selected is not cruelly inhumane or disproportionate to the crime involved.
         And a heavy burden rests on those who would attack the judgment of the
         representatives of the people.

                 This is true in part because the constitutional test is intertwined with an
         assessment of contemporary standards and the legislative judgment weighs heavily
         in ascertaining such standards. “(I)n a democratic society legislatures, not courts, are
         constituted to respond to the will and consequently the moral values of the people.”
         Furman v. Georgia, supra, 408 U.S., at 383, 92 S.Ct., at 2800 (Burger, C. J.,
         dissenting). The deference we owe to the decisions of the state legislatures under our
         federal system, 408 U.S., at 465-470, 92 S.Ct., at 2842-2844 (Rehnquist, J.,
         dissenting), is enhanced where the specification of punishments is concerned, for
         “these are peculiarly questions of legislative policy.” Gore v. United States, 357 U.S.
         386, 393, 78 S.Ct. 1280, 1285, 2 L.Ed.2d 1405 (1958).

  Id. at 174-76.

         The Court may, and indeed, must, evaluate the particular circumstances of this defendant’s

  case to determine what sentence best achieves the objectives set forth in 18 U.S.C. § 3553(a). It

  should not, however, act as a super-legislature. It should not, as the defendant proposes, invalidate

  a Guideline resulting from the interplay of Commission study and Congressional directive. When

  considering the validity of the Guideline itself, the Court should not substitute its own judgments

  regarding child pornography offenses for the moral and policy judgments of the People of the United

  States—judgments set forth in the Guideline shaped by a democratically elected Congress.

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          The defendant’s actions fall squarely within the heartland of cases involving violations of

   18 U.S.C. § 2252(a)(2). The defendant’s child pornography crimes involve prepubescent children.

    For purposes of 18 U.S.C. § 3553(b), very little is extraordinarily unusual about the nature or

   circumstances of the defendant’s offense or his personal characteristics. The guideline sentence

   calculated by Probation in the defendant’s case is 151 to 188 months. The defendant suggests that

   the appropriate sentence is 60 months, a downward variance of 91 months. As set forth below, a

   sentence of only 60 months would be unreasonable pursuant to the § 3553 factors.

          1.      The nature and circumstances of the offense counsel for a significant
                  sentence.

          The § 3553 factors require the Court to take into account “the nature and circumstances of

   the offense,” “the seriousness of the offense,” and the need “to provide just punishment.” All of

   these factors counsel for a sentence far in excess of the defendant’s request for 60 months.

          In support of his request for such a significant variance, the defendant plainly attempts to

   minimize his offense. See Memorandum at 5 (“With regard to how Mr. DeMarco committed the

   crime of distribution of material containing child pornography, it is important to understand the way

   in which peer-to-peer file sharing software that Mr. DeMarco utilized works. Once the peer-to-peer

   software is installed on one’s computer, the user can then designate any data on his hard drive to be

   “shared” through the peer-to-peer software. Once the user connects with another user through the

   peer-tot-peer software, each user can then download any file that is contained in the other user’s

   “shared” folder. Therefore, Mr. DeMarco did not actively distribute the material in the regular

   sense. Instead, he was passively sharing the material. The difference is akin to leaving a basket of

   fruit on your doorstep for people to take if they want, as opposed to going around the neighborhood

   and delivering fruit to your neighbors probatively.”).

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          In the context of sentencing guidelines enhancements for “distribution” of child

   pornography, several Circuit Court of Appeals have held that use of a peer-to-peer program which

   makes child pornography available for download by others is sufficient. See United States v. Layton,

   564 F.3d 330, 335 (4th Cir. 2009)(“We...hold that use of a peer-to-peer file-sharing program

   constitutes ‘distribution’ for the purposes of U.S.S.G. § 2G2.2(3)(b)(F).”); United States v. Corani,

   492 F.3d 867, 876 (7th Cir. 2007); United States v. Griffin, 482 F.3d 1008, 1010-11 (8th Cir.

   2007)(permitting others to download child pornography files via peer-to-peer network qualified

   defendant for distribution enhancement.).

          Here, the defendant admitted to knowing that he had downloaded child pornography from

   Giga Tribe and that he was familiar with file sharing program. When using the Giga Tribe software,

   there is no default setting for sharing files. Once a user sets up a Giga Tribe account, a user must

   install Giga Tribe unto his/her computer, as the defendant did. After the installation, the user must

   create their profile and create a shared folder in which they place the files to be shared. Once on the

   Giga Tribe network, the only individuals that a user can connect to and browse, are the users who

   have been accepted by both screen names as a friend. Once accepted as a friend, the user can right

   click on the name of the other user and select "browse this user" in order to see the files that are

   being shared. In addition, there is a transfer tab which monitors all of the files that the user is

   downloading from others as well as what others are attempting to upload from them. The defendant

   distributed child pornography images by using the Giga Tribe software. The circumstances of that

   distribution counsel in favor of a significant sentence.

          Moreover, the nature of the images the defendant distributed also militate in favor of a

   guideline sentence. The defendant’s memorandum ignores actual images he distributed, referring


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   to them only generally as “child pornography.” To do otherwise would severely undercut his

   request for such a significant variance. The nature and content of these images are, however, central

   to the Court’s sentencing determination and should be carefully considered in assessing the nature

   of the defendant’s offense.

          It bares repeating that when the threat of being caught and the fear of a long prison sentence

   were not present, the defendant used the Internet to distribute images depicting the prepubescent

   minors engaging in sexual acts with other prepubescent minors and adults.

          The fact that the defendant did not produce these images or engage in sexual conduct with

   minors does not make a guideline sentence unreasonably high, nor does it justify a 60-month prison

   term. Such a claim is, likewise, misleading. The defendant’s comparison of his crime to other

   crimes which he did not commit and with which he was not charged is irrelevant to the Court’s

   sentencing determination. The Court must decide where, within the range prescribed by the statute

   of conviction, the defendant should be sentenced. In the defendant’s case, the lower limit of that

   range is 60 months (the statutory minimum), and the upper limit is 240 months (the statutory

   maximum).

          The defendant certainly could have engaged in more heinous acts. He could have produced

   child pornography himself or engaged in sexual conduct with a minor. But if the Defendant had

   committed such acts, he would be subject to an entirely different, and more severe, statute with more

   severe penalties. For instance, had Defendant produced child pornography, he would be subject to

   a minimum prison term of 180 months and a maximum term of 360 months. See 18 U.S.C. 2251(e).

          Viewed within the context of the child pornography distribution, the defendant’s crime is a

   serious one. It is not so serious to subject him to the maximum sentence of 20 years, but it is far


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   more serious than the 60-month sentence requested. Such a low sentence severely under represents

   the severity of the defendant’s conduct. Any suggestion that the continued distribution of images

   memorializing the sexual abuse children is not a severe crime works a tremendous injustice on the

   children victimized in the child pornography that the defendant possessed and distributed. Put

   simply, the defendant’s crime is a serious one. It should be treated as such.

          2.      The history and characteristics of Defendant provide no basis for a sentence
                  below the guideline.

          Defendant argues that his lack of criminal history, and a psychologist’s opinion that “Mr.

   DeMarco’s history is characterized by a number of symptoms of Autism Spectrum, indicating he

   falls somewhere on the continuum although not at the diagnostic cutoff point” and that he has not

   committed a contact offense through his polygraph, somehow justify a sentence at the statutory

   minimum. None of these factors justify such a drastic variance given the seriousness of the

   defendant’s offense. The guidelines take into account the defendant’s lack of criminal history.

   Moreover, in Dr. Sczechowicz’s Addendum to Psychosexual Evaluation, Dr. Sczechowicz agreed

   with the evaluation team at the University of North Carolina that “while he does have symptoms that

   are similar to those on the Autism Spectrum, these symptoms do not meet the criteria on measures

   considered to be the gold standards of autism assessment.” [D.E. 76-2]. Dr. Sczechowicz’s opinion

   that the defendant falls somewhere on the continuum although not at the diagnostic cutoff point for

   Autism provides little justification for a sentence of the statutory minimum.

          3.      The Need for the Sentence to Promote Respect for the Law.

          A sentence below the guideline range would not reflect the seriousness of this offense and

   could not "promote respect for the law" or "promote just punishment," pursuant to 18 U.S.C.

   § 3553(a)(2)(A). Given that child pornography has become so prevalent, it is imperative that a

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   sentence be imposed that affords adequate deterrence to criminal conduct and promotes future lawful

   conduct, pursuant to 18 U.S.C. § 3553(a)(2)(B). A sentence also should protect the public from

   further crimes of the defendant, pursuant to 18 U.S.C. § 3553(a)(2)(C). The aims of deterrence and

   incapacitation would not be served by a sentence below the guidelines.

          4.      A guideline sentence is necessary to provide appropriate deterrence.

          A primary purpose of child pornography legislation is to combat the consumption of, and

   market for, child pornography. Sentences that accurately reflect the seriousness of the offense will

   promote respect for the law, reduce the market for child pornography, and, as a result, reduce the

   number of children victimized for the sake of production of child pornography. A minimum

   mandatory sentence simply does not provide sufficient deterrence for this conduct.

          5.      The defendant is in need of treatment.

          The defendant requests this Court to recommend and refer him to a Bureau of Prisons facility

   where he will be able to participate in the Sex Offender Treatment Program. The Government

   agrees with this request and believes that such treatment will be beneficial to the defendant.


          6.      The needs of the public and the victims of the offense counsel in favor of a
                  guideline sentence.

          Plainly missing from the defendant’s memorandum is any acknowledgment that the children

   depicted in these images are harmed when the images of their abuse are collected, distributed and

   traded. The actions of the defendant and other consumers of child pornography results in real injury.

   Each child depicted in the images possessed and distributed by the defendant has been victimized

   by him. The violence perpetrated against them happened because of the demand for more and more

   shocking child pornography created by the defendant and others like him. The public and the


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   victims of child pornography have a strong interest in punishing the defendant for this serious crime.

          Over two decades ago, the Supreme Court, in New York v. Ferber, 458 U.S. 747 (1982),

   addressed the harm to victims resulting from the distribution of child pornography:

          The distribution of photographs and films depicting sexual activity by juveniles is
          intrinsically related to the sexual abuse of children . . . . .[T]he materials produced
          are a permanent record of the children’s participation and the harm to the child is
          exacerbated by their circulation . . . .[P]ornography poses an even greater threat to
          the child victim than does sexual abuse or prostitution. Because the child's actions
          are reduced to a recording, the pornography may haunt him in future years, long after
          the original misdeed took place. A child who has posed for a camera must go through
          life knowing that the recording is circulating within the mass distribution system for
          child pornography.

   Id. at 759-60 and n.10 (internal citations omitted).

          Ferber was decided in a time before digital cameras, before gigabytes of information could

   be stored on a hard drive or thumb drive, and before every household had a computer connected to

   the Internet. When Ferber was decided, a producer of child pornographer needed photographic

   equipment, access to a darkroom, and/or video equipment. A consumer of child pornography was

   dependent on the U.S. mail to obtain new materials. Against this backdrop, the Supreme Court’s

   observations regarding the harm caused by the distribution of child pornography are even more true

   today than they were twenty-seven years ago.

          The interest of the public and victims of child pornography in a sentence that reflects the

   seriousness of child pornography offenses cannot be overstated. These interests are not served by

   the minimum mandatory sentence requested by the defendant; they are served by the guideline

   sentence endorsed by Probation.




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                                             CONCLUSION

          For the foregoing reasons, the United States respectfully requests that the Court sentence

   Defendant to a term of imprisonment of 151 months’ imprisonment.



                                               Respectfully submitted,
                                               WIFREDO A. FERRER
                                               UNITED STATES ATTORNEY

                                       By:       s/ Sharad A. Motiani
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 23, 2011, I electronically filed the foregoing

   United States’ Response to Defendant’s Sentencing Memorandum with the Clerk of the Court using

   CM/ECF.


                                                       s/ Sharad A. Motiani
                                                      Assistant United States Attorney




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